
607 So.2d 549 (1992)
Nita BEECHER, et al.
v.
Thomas KEEL, III, et al.
No. 92-CC-2788.
Supreme Court of Louisiana.
November 20, 1992.
Writ granted. The ruling of the trial court, that the Department of Transportation and Development's accident data for Airline Highway is admissible, is set aside. The trial court must address the admissibility of each item of evidence as it is offered, in accordance with the criteria of 23 U.S.C. Section 409. If the trial court finds that the data were compiled pursuant to 23 U.S.C. Section 152, "or for the purpose of developing any highway safety construction project which may be implemented utilizing Federal-aid highway funds," they shall not be admitted into evidence. 23 U.S.C. Section 409 (1991). Because the data have already been produced, we do not address the issue of whether the 1991 amendments to Section 409 should be applied retroactively.
